            Case 1:21-cr-00576-RC Document 12 Filed 06/15/22 Page 1 of 1
                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )
                                            )
       v.                                   )       No. 21-cr-576 (RC)
                                            )
FLOYD RAY ROSEBERRY,                        )
                                            )
                      Defendant.            )
                                            )

                                   NOTICE OF APPEARANCE

       Please enter the appearance of Assistant Federal Public Defender Mary Petras on

behalf of the defendant, Floyd Roseberry, in the above captioned matter.

                                            Respectfully submitted,

                                            A. J. KRAMER
                                            FEDERAL PUBLIC DEFENDER

                                                    /s/

                                            MARY M. PETRAS
                                            Assistant Federal Public Defender
                                            625 Indiana Avenue, N.W., Suite 550
                                            Washington, D.C. 20004
                                            (202) 208-7500
                                            Mary_Petras@fd.org
